
663 So.2d 672 (1995)
Adolphus WILLIAMS, Appellant,
v.
STATE of Florida, Appellee.
No. 94-00037.
District Court of Appeal of Florida, Second District.
November 17, 1995.
Robert H. Dillinger, St. Petersburg, for Appellant.
Robert A. Butterworth, Attorney General, Tallahassee, and William I. Munsey, Jr., Assistant Attorney General, Tampa, for Appellee.
FULMER, Judge.
The defendant, Adolphus Williams, appeals his convictions for four counts of kidnapping. We affirm three of the convictions but reverse the conviction for the kidnapping of Lowell Johnson, Sr. As to that charge, the defendant was entitled to be discharged for violation of the speedy trial rule for the reasons explained in this court's opinion in the appeal of Williams' codefendant, Adams v. State, 659 So.2d 396 (Fla. 2d DCA 1995). See also Critton v. State, 659 So.2d 399 (Fla. 2d DCA 1995).
We reverse the defendant's conviction on the charge of kidnapping Lowell Johnson, Sr., and remand with directions that the conviction be vacated and the defendant be discharged on this count. Because the defendant's sentencing scoresheet must be recalculated, we also remand for resentencing on the remaining three convictions which are affirmed.
Affirmed in part, reversed in part and remanded.
DANAHY, A.C.J., and FRANK, J., concur.
